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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


 DEVELOPERS     SURETY                  AND
 INDEMNITY COMPANY,

                       Plaintiff,

 v.                                                       Case No: 6:16-cv-1875-Orl-40KRS

 ARCHER WESTERN CONTRACTORS,
 LLC,

                       Defendant.
                                             /

                                            ORDER

        This cause comes before the Court on the parties’ Joint Stipulation for Dismissal

 with Prejudice (Doc. 136), filed June 22, 2018. The stipulation of dismissal is self-

 executing pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). See Anago

 Franchising, Inc. v. Shaz, 677 F.3d 1272, 1278 (11th Cir. 2012). A Rule 41(a)(1)(A)(ii)

 stipulation of dismissal dismisses the case “upon its becoming effective.” Id. “The

 stipulation becomes effective upon filing unless it explicitly conditions its effectiveness on

 a subsequent occurrence. District courts need not and may not take action after the

 stipulation becomes effective because the stipulation dismisses the case and divests the

 district court of jurisdiction.” Id. Accordingly, all claims asserted by any party in this action

 are DISMISSED WITH PREJUDICE. The Clerk of Court is DIRECTED to terminate any

 pending deadlines and close this case.

        The Court also denies Prince Land Services, Inc.’s (“Prince”) Renewed Motion to

 Intervene, Motion for Reconsideration or Clarification, and Incorporated Memorandum of

 Law (Doc. 135). This motion renews a Motion to Intervene filed by Prince on February 8,
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 2017. (Doc. 44). That initial intervention motion was ultimately denied on May 25, 2017.

 (Doc. 65). Approximately one year later, on May 7, 2018, the Court granted Archer

 Western Contractors, LLC’s (“Archer”) Motion for Summary Judgment, and entered

 Judgment in favor of Archer and against Developers Surety and Indemnity Company

 (“DSIC”). (Docs. 128, 129). After the Court’s Order resolving the summary judgment

 motions, on June 16, 2018, Prince filed the now-pending Renewed Motion to Intervene.

 (Doc. 135). The parties’ stipulation of settlement came six days later, on June 22, 2018,

 “divest[ing] the [Court] of jurisdiction.” (Doc. 136); see also Shaz, 677 F.3d 1278. Because

 the Court lacks jurisdiction, it is ORDERED that Prince’s Renewed Motion to Intervene

 and for Reconsideration or Clarification (Doc. 135) is hereby DENIED. 1




 1   Moreover, Prince failed to comply with Rule 3.01(g) before filing its motion. Counsel
     for Prince advises that he “attempted to confer with all counsel in a good faith effort .
     . . [by] emailing all counsel to schedule a conference to discuss the relief sought, and
     that I have as of the filing of this motion not secured agreement to the motion.” (Doc.
     135, p. 8). That is not enough under the Local Rules.

            The term “confer” in Rule 3.01(g) requires a substantive conversation in
            person or by telephone in a good faith effort to resolve the motion without
            court action and does not envision an email, fax or letter. Counsel who
            merely “attempt” to confer have not “conferred.” A certification to the
            effect that opposing counsel was unavailable for a conference before
            filing a motion is insufficient to satisfy the parties' obligation to confer.
            Local Rule 3.01(g).

     Rigney v. Livingston Fin., LLC, Case No. 6:12–cv–617–Orl–18TBS, 2012 WL
     12915480, at *1 (M.D. Fla. Dec. 4, 2012). The Court regularly denies motions that fail
     to include a compliant Rule 3.01(g) certificate. Id. Prince has failed to comply with
     3.01(g), which is an additional ground for denying its motion.




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       DONE AND ORDERED in Orlando, Florida on July 6, 2018.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




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